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         EXHIBIT A
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   STATE OF COLORADO, ss:
       I,   Cheryl Stevens , Clerk of the Supreme Court of t h e S t a t e
   o f Colorado, do hereby certify that
                        DONALD HARLAN SLAVIK


has been duly licensed and admitted to practice as an


     ATTORNEY AND COUNSELOR AT LAW

within this State; and that his /her name ap pears upon the Roll of Attorneys

 and Counselors at Law in my office of date the                    16th
day of      August                            A.D.      2002      and that at the date hereof

the said      DONALD HARLAN SLAVIK                                     is in good standing a t

this Bar.


                             IN WITNESS WHEREOF, I have hereunto subscribed my name and
                             affixed the Seal of said Supreme Court, at Denver, in said State, this
                              4th             day of           March                     A.D   2022
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